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11                       IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEVADA
12
      Cung Le, Nathan Quarry, Jon Fitch,               No.: 2:15-cv-01045-RFB-BNW
13    Brandon Vera, Luis Javier Vazquez, and
      Kyle Kingsbury, on behalf of themselves
14    and all others similarly situated,

                             Plaintiffs,                  PLAINTIFFS’ OPPOSITION TO
15                                                      DEFENDANT ZUFFA LLC’S MOTION
              v.                                          TO CONSOLIDATE BRIEFING
16                                                          SCHEDULE AND AMEND
      Zuffa, LLC, d/b/a Ultimate Fighting                    SCHEDULING ORDER
17
      Championship and UFC,
18
                             Defendant.
19
      Kajan Johnson and Clarence Dollaway, on          No.: 2:21-cv-1189-RFB BNW
20    behalf of themselves and all others
      similarly situated,
21
                     Plaintiffs,
22

23            vs.

24    Zuffa, LLC (d/b/a Ultimate Fighting
      Championship and UFC) and Endeavor
25    Group Holdings, Inc.,
26                   Defendants.
27

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                                                                          Case Nos.: 2:15-v-1045; 2:21-cv-1189
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 1          Defendant Zuﬀa, LLC (“Zuﬀa”) has ﬁled two separate motions seeking to reopen

 2   discovery in Le v. Zuﬀa, LLC, No. 15-1045, ECF Nos. 884 & 885 (D. Nev.). Even though

 3   discovery closed in Le in January 2018 and the Court indicated in December 2020 that it would

 4   certify the bout class in Le, Zuﬀa claims it had no obligation to seek this relief prior to August

 5   2023. See Hrg. Tr., ECF No. 846, at 23; ECF No. 884 at 14-16. Even assuming that Zuﬀa did not

 6   commence to prepare its discovery motions until after the status conference when Zuﬀa

 7   discussed such motions with the Court, Hrg. Tr., ECF 846, at 25, Zuﬀa has had more than two

 8   months to prepare them. Despite that, Zuﬀa now seeks to restrict Plaintiﬀs’ opportunity to

 9   respond. �e Court should reject Zuﬀa’s unfair proposal.

10          �e Court set Plaintiﬀs’ current deadline for responding to Zuﬀa’s main motion to reopen

11   discovery (ECF No. 884) as November 21, 2023, four weeks after Zuﬀa ﬁled it. See ECF No.

12   847. Plaintiﬀs have a deadline of November 9, 2023 to respond to Zuﬀa’s shorter but related

13   motion to treat discovery taken in Johnson as though taken in Le (ECF No. 885). See Johnson v.

14   Zuﬀa, LLC, ECF No. 82.

15          Following denial of Zuﬀa’s petition to the Ninth Circuit under Fed. R. Civ. P. 23(f), the

16   Court set a hearing on Zuﬀa’s motion to reopen discovery in Le for November 17, 2023. See

17   ECF No. 894. �e hearing is now scheduled four days prior to Plaintiﬀs’ deadline to respond to

18   the motion to reopen discovery. As a result, Plaintiﬀs reached out to Zuﬀa to propose that

19   Plaintiﬀs would ﬁle an omnibus response to Zuﬀa’s two motions (ECF Nos. 884 and 885) by

20   November 13, 2023, and then Zuﬀa could submit an omnibus reply if it chooses prior to the

21   hearing. Plaintiﬀs explained to Zuﬀa that it would take longer for Plaintiﬀs to draft two separate

22   opposition briefs than it would to prepare a single consolidated opposition brief, and thus if Zuﬀa

23   did not agree to Plaintiﬀs’ proposal, Plaintiﬀs would have to ﬁle the second brief (in opposition

24   to the motion to reopen, ECF No. 884) after November 13, 2023 but in advance of the hearing.

25   Plaintiﬀs did not say, as Zuﬀa asserts, that they would wait to ﬁle their opposition brief one day

26   prior to the November 17 hearing. Instead, Plaintiﬀs said that it would take longer to prepare two

27   separate briefs, and thus that they could not predict now when that second brief (currently due

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                                                                                  Case Nos.: 2:15-v-1045; 2:21-cv-1189
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 1   November 21) would be ﬁled other than that it would be ﬁled in advance of the hearing with

 2   suﬃcient time for the Court to have an opportunity to consider it.

 3           Despite submitting two briefs to the Court across 28 pages that Defendants had more than

 4   two months to write, Zuﬀa refused Plaintiﬀs’ oﬀer and countered that Plaintiﬀs should ﬁle an

 5   omnibus opposition by November 9. Zuﬀa has since insisted that November 10 be Plaintiﬀs

 6   deadline and have ﬁled the instant motion. Plaintiﬀs require more time to prepare a consolidated

 7   brief than Zuﬀa’s proposed one day past the deadline for Plaintiﬀs’ 10-page opposition to Zuﬀa’s

 8   motion related motion to treat discovery taken in Johnson as though taken in Le (ECF No. 885).

 9           Plaintiﬀs are, of course, ready, willing, and able to provide their brieﬁng to the Court so

10   that it has time to consider Plaintiﬀs’ position in advance of the Court’s scheduled hearing.

11   However, Zuﬀa’s proposal to force Plaintiﬀs to further condense their opposition timeline to

12   these two detailed briefs that Zuﬀa had two months to write would be unfair and unnecessary. As

13   a result, Plaintiﬀs propose either of the following brieﬁng proposals:

14           (1) �e Court adopt Plaintiﬀs’ proposal to Zuﬀa: Plaintiﬀs may ﬁle an omnibus

15               opposition to Defendants’ motions (ECF Nos. 884 & 885) by November 13, 2023.

16               Plaintiﬀs will have a 30-page limit for such brief. Defendants may ﬁle an omnibus

17               reply if they so choose of no more than 15 pages on or before November 15, 2023.

18           (2) �e Court maintains the current schedule pursuant to which Plaintiﬀs will ﬁle, by

19               November 9, a 10-page opposition to Zuﬀa’s motion to treat discovery taken in

20               Johnson as if it was also taken in Le (ECF No. 885), and Plaintiﬀs may ﬁle their

21               opposition to Zuﬀa’s motion to reopen discovery in Le (ECF No. 884) on November

22               15, 2023.

23   Plaintiﬀs believe that the ﬁrst option is fair to all parties. Plaintiﬀs believe it would be

24   inappropriate for Zuﬀa to force an even more condensed brieﬁng timeline on Plaintiﬀs than the

25   Court’s schedule requires, particularly given that Zuﬀa has already set out its position across two

26   briefs, that Plaintiﬀs have not yet had an opportunity to weigh in at all, and in light of the lengthy

27   time Zuﬀa has already had to prepare its motions.

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 1   DATED: November 6, 2023             Respectfully Submitted,

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 1                                   CERTIFICATE OF SERVICE

 2          I hereby certify that on this 6th day of November, 2023 a true and correct copy of

 3   Plaintiﬀs’ Opposition to Defendant Zuﬀa LLC’s Motion to Consolidate Brieﬁng Schedule and

 4   Amend Scheduling Order was served via the District Court of Nevada’s ECF system to all

 5   counsel of record who have enrolled in this ECF system.

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 7                                               By:     /s/ Eric L. Cramer
                                                         Eric L. Cramer
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                                                                               Case Nos.: 2:15-v-1045; 2:21-cv-1189
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